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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

 

SOUTHERN DIVISION
Xx
GENERAL MOTORS LLC; GENERAL
MOTORS Co.,
Plaintiffs . No. 2:19-cv-13429
y Honorable Paul D. Borman

District Court Judge

FCA US LLC; FIAT CHRYSLER
AUTOMOBILES N.V.; ALPHONS
IACOBELLI; JEROME DURDEN; MICHAEL
BROWN,

Honorable David R. Grand
Magistrate Judge

Defendants.

 

CORPORATE DISCLOSURE STATEMENT
OF DEFENDANT FCA US LLC

Pursuant to Federal Rule of Civil Procedure 7.1, Defendant FCA US LLC,
by and through its undersigned counsel, makes the following disclosures:

1. Is said corporate party a subsidiary or affiliate of a publicly owned
corporation?

Yes.

If the answer is yes, list below the identity of the parent corporation or
affiliate and the relationship between it and the named party:

Parent Corporation/Affiliate Name: Fiat Chrysler Automobiles N.V., a
publicly traded Netherlands company.
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Relationship with Named Party: Named Party is a wholly owned
subsidiary of FCA North America Holdings LLC, a Delaware limited
liability company, which is wholly owned by FCA Holdco B.V., a
company incorporated under the laws of the Netherlands, and which, in
turn, is wholly owned by Fiat Chrysler Automobiles N.V., a publicly
traded Netherlands company with its principal executive offices in
London, United Kingdom.

2. Is there a publicly owned corporation or its affiliate, not a party to the
case, that has a substantial financial interest in the outcome of the litigation?
Yes.
_ If the answer is yes, list the identity of such corporation or affiliate and the
nature of the financial interest:

Parent Corporation/Affiliate Name: Fiat Chrysler Automobiles N.V., a
publicly traded Netherlands company.

Nature of Financial Interest: Named Party is a wholly owned subsidiary
of FCA North America Holdings LLC, a Delaware limited liability
company, which is wholly owned by FCA Holdco B.V., a company
incorporated under the laws of the Netherlands, and which, in turn, is
wholly owned by Fiat Chrysler Automobiles N.V., a publicly traded
Netherlands company with its principal executive offices in London,
United Kingdom.
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Dated: December 6, 2019

Respectfully submitted,

By:

/s/ Thomas W. Cranmer

Thomas W. Cranmer (P25252)

MILLER, CANFIELD, PADDOCK & STONE, PLC
840 West Long Lake Road, Suite 150

Troy, MI 48098

Telephone: (248) 267-3381

Email: cranmer@millercanfield.com

Counsel for Defendant FCA US LLC
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CERTIFICATE OF SERVICE
I hereby certify that on December 6, 2019, I electronically filed the
foregoing paper with the Clerk of the Court using the ECF system which will send
notification of such filing to all parties of record, and I hereby certify that I have
mailed by United States Postal Service the paper to the following non-ECF
participants: None.
By: /s/ Thomas W. Cranmer

Thomas W. Cranmer (P25252)

MILLER, CANFIELD, PADDOCK & STONE, PLC

840 West Long Lake Road, Suite 150

Troy, MI 48098

Telephone: (248) 267-3381
Email: cranmer(@millercanfield.com

Counsel for Defendant FCA US LLC

Dated: December 6, 2019

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